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NOT FOR PUBLICATION


                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


ANDRE’ LEWIS,                       :
                                    :   Civil Action No. 07-3663 (JAP)
                 Plaintiff,         :
                                    :
                 v.                 :    OPINION
                                    :
LAZARUS VITON, et al.,              :
                                    :
                 Defendants.        :


APPEARANCES:

     ANDRE’ LEWIS, Plaintiff pro se
     # 408198/#5
     Northern State Prison
     168 Frontage Road, P.O. Box 2300
     Newark, New Jersey 07114-2300

PISANO, District Judge

     Plaintiff Andre’ Lewis (“Lewis”), currently confined at the

Northern State Prison in Newark, New Jersey, seeks to bring this

action in forma pauperis pursuant to 42 U.S.C. § 1983, alleging

violations of his constitutional rights.         Based on his affidavit

of indigence and the absence of three qualifying dismissals

within 28 U.S.C. § 1915(g), the Court will grant plaintiff’s

application to proceed in forma pauperis (“IFP”) pursuant to 28

U.S.C. § 1915(a) (1998) and order the Clerk of the Court to file

the Complaint.

     At this time, the Court must review the Complaint pursuant

to 28 U.S.C. §§ 1915(e)(2) and 1915A to determine whether it
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should be dismissed as frivolous or malicious, for failure to

state a claim upon which relief may be granted, or because it

seeks monetary relief from a defendant who is immune from such

relief.   For the reasons set forth below, the Court concludes

that the Complaint should be allowed to proceed in part.1

                             I.   BACKGROUND

     Lewis brings this civil rights action against the following

defendants: Lazarus Viton, Giuseppe Mandara, James Liik, Sr., P.

Lampitt, D’Amore, and A. Degner, all correctional officers (“CO”)

at the New Jersey State Prison (“NJSP”); Sgt. Steve Alaimo, in

charge of the Administrative Segregation Unit at NJSP at the time

of the events at issue in the Complaint; Ronald Cathal,

Administrator at NJSP at the time; Jack Osvart, a hearing officer

at NJSP; Pamela Trent, assistant Administrator at NJSP; and Devon

Brown, Commissioner of the New Jersey Department of Corrections

(“NJDOC”).   The following factual allegations by plaintiff are

taken from the Complaint and are accepted for purposes of this




     1
        The Clerk’s Office received the Complaint and IFP
application on August 6, 2007; however, the Complaint is dated
August 1, 2007. Giving Lewis the benefit of all inferences
related to the date he filed his complaint, the Court finds that
Lewis did “file” his complaint on the date he handed it to prison
officials to be mailed to the Court for filing, on or about
August 1, 2007. See Houston v. Lack, 487 U.S. 266, 276 (1988);
Burns v. Morton, 134   F.3d 109, 113 (3d Cir. 1998)(incorporating
the “mailbox rule” for habeas petitions submitted by inmates
confined in an institution).

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screening only.    The Court has made no findings as to the

veracity of plaintiff’s allegations.

     Plaintiff alleges that, on August 7, 2005, defendant

correctional officers and Sgt. Alaimo, verbally harassed,

threatened to kill, and brutally assaulted plaintiff while he was

being transported to the medical unit for his insulin shot.

Lewis states that he had been handcuffed behind his back and had

done nothing and said nothing to provoke the assault by

defendants.2   Lewis’ injuries were so severe that he lost

consciousness and was taken to an outside hospital by ambulance

for treatment.

     Lewis also alleges that defendants fabricated charges

against him so as to cover up their assault of plaintiff.            Lewis

claims that he heard defendants Viton and Mandara tell other

officers that plaintiff kicked Degnan.        Sgt. Alaimo allegedly

coerced defendant Liik to say that plaintiff bit Liik, although



     2
        Lewis relates that the officers kicked, punched, choked,
strangled, and hit him repeatedly after he was slammed to the
hard concrete floor. He also alleges that defendants repeatedly
slammed his head to the concrete floor, while plaintiff was
defenseless, handcuffed, and pinned to the ground. With regard
to the verbal threats and harassment, Lewis alleges that
defendants Viton, Mandara, Degner and Alaimo verbally threatened
plaintiff’s life and safety, and called him a “nigger”
repeatedly. Specifically, Lewis alleges that these defendants
threatened to “kill” him in retaliation for plaintiff’s complaint
against them as the result of an earlier assault in March 2005.
The March 2005 incident is the subject of another civil action
currently pending in this district court, Lewis v. Williams, et
al., Civil No. 07-1592 (GEB).

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Liik had said that he must have scraped his hand against

plaintiff’s teeth while punching him.        Sgt. Alaimo also attempted

to prevent the nurse at the prison infirmary from calling an

ambulance.

     On August 19, 2005, twelve days after the incident, Lewis

was placed in a condemned “dry cell” which allegedly was “strewn

with human and rodent excrement, blood, urine, and debris.”

(Complaint at ¶ 96).     A disciplinary proceeding was conducted

soon afterwards.

     Lewis alleges that defendant Osvart, the hearing officer,

did not conduct a full hearing and did not accord plaintiff with

all of his due process rights.       Lewis states that Osvart “shut

down” plaintiff’s “substitute counsel” and told him that it would

be a quick hearing.     Plaintiff further states that he overheard

Osvart tell his counsel that the assault charges against

plaintiff were “too outrageous” and “fabricated bullshit.”

(Complaint, ¶¶ 101-102).      Osvart told plaintiff that he saw the

video tape of the incident and it was clear that plaintiff was

not guilty of the infractions levied against him.          Lewis also

alleges that Osvart told him that he had found Lewis guilty of

false charges in the past so as to appease the correctional

officers who had charged him.       Osvart allegedly told plaintiff

that he would save the video tape and strongly recommend that

plaintiff be transferred to another prison facility.           Osvart told


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plaintiff that “he knew how to handle this matter in a way that

would be satisfactory to both sides.”        (Compl., ¶¶ 103-106).

     In the adjudication report delivered to Lewis a short time

later, Osvart found Lewis guilty of threatening another, conduct

that disrupts, and throwing bodily fluid.         There was no finding

of guilt on the four false assault charges filed against

plaintiff.   Lewis contends that this adjudication contained no

“substantial evidence” to support Osvart’s findings.           (Compl., ¶¶

107-110).    Lewis immediately appealed this decision to the prison

administrator, Ronald Cathel, who had been repeatedly notified of

the threats against plaintiff after his first beating in March

2005, the subject of Lewis’ earlier pending action in Civil No.

07-1592 (GEB).    On August 29, 2005, defendant Pamela Trent denied

plaintiff’s appeal.     (Compl., ¶¶ 111-112).

     Lewis alleges that he and his family have repeatedly

contacted defendant Commissioner Brown to complain about the

assaults inflicted upon plaintiff in March and August 2005.

Lewis states that Brown did nothing to stop these abuses or to

protect plaintiff from harm committed by defendant correctional

officers who had a history of such violence and abuse.           (Compl.,

¶ 113).

     Lewis further alleges that from August 2005 through the

present time, he has made numerous attempts to communicate with

administrative officials at NJSP in an effort to exhaust his


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administrative remedies.      He has not received any satisfactory

response.    (Compl., ¶ 114).

     Lewis asserts claims of excessive force in violation of the

Eighth Amendment and common law tort claims of assault and

battery against defendants, Viton, Mandara, Degner, Liik,

D’Amore, Lampitt, Alaimo and Carbonaro.         He also asserts that

these defendants conspired to fabricate false disciplinary

reports against plaintiff to cover up their unprovoked assault on

plaintiff.    Next, Lewis asserts an Eighth Amendment failure to

protect claim with respect to defendant Cathel and Brown for

their failure to take disciplinary or other actions to curb the

known pattern of physical and psychological abuse inflicted by

these named correctional officer.        Lewis also alleges that

defendant Osvart violated his right to due process with respect

to the disciplinary proceedings by finding plaintiff guilty of

certain charges without substantial evidence to support the

disciplinary finding.     Finally, Lewis alleges that defendants

Cathel and Trent violated his right to due process by refusing to

reverse plaintiff’s disciplinary conviction.         (Compl., ¶¶ 115-

122).

     Lewis seeks declaratory judgment against defendants that

they violated plaintiff’s constitutional rights.          He also seeks

compensatory and punitive damages from defendants, jointly and

severally, in an amount exceeding $250,000.00.          He further seeks


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injunctive relief, decreeing that all defendants be terminated

from their employment with the NJDOC and barred from any

employment with law enforcement agencies.         (Compl., “Relief

Requested”).

               II.   STANDARDS FOR A SUA SPONTE DISMISSAL

     The Prison Litigation Reform Act (“PLRA”), Pub. L. No. 104-

134, §§ 801-810, 110 Stat. 1321-66 to 1321-77 (April 26, 1996),

requires a district court to review a complaint in a civil action

in which a prisoner is proceeding in forma pauperis or seeks

redress against a governmental employee or entity.          The Court is

required to identify cognizable claims and to sua sponte dismiss

any claim that is frivolous, malicious, fails to state a claim

upon which relief may be granted, or seeks monetary relief from a

defendant who is immune from such relief.         28 U.S.C. §§

1915(e)(2)(B) and 1915A.

     In determining the sufficiency of a pro se complaint, the

Court must be mindful to construe it liberally in favor of the

plaintiff.   Haines v. Kerner, 404 U.S. 519, 520-21 (1972); United

States v. Day, 969 F.2d 39, 42 (3d Cir. 1992).          The Court must

“accept as true all of the allegations in the complaint and all

reasonable inferences that can be drawn therefrom, and view them

in the light most favorable to the plaintiff.”          Morse v. Lower

Merion School Dist., 132 F.3d 902, 906 (3d Cir. 1997).           The Court




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need not, however, credit a pro se plaintiff’s “bald assertions”

or “legal conclusions.”      Id.

     A complaint is frivolous if it “lacks an arguable basis

either in law or in fact.”      Neitzke v. Williams, 490 U.S. 319,

325 (1989) (interpreting the predecessor of § 1915(e)(2), the

former § 1915(d)).     The standard for evaluating whether a

complaint is “frivolous” is an objective one.          Deutsch v. United

States, 67 F.3d 1080, 1086-87 (3d Cir. 1995).

     A pro se complaint may be dismissed for failure to state a

claim only if it appears “‘beyond doubt that the plaintiff can

prove no set of facts in support of his claim which would entitle

him to relief.’”    Haines, 404 U.S. at 521 (quoting Conley v.

Gibson, 355 U.S. 41, 45-46 (1957)); Milhouse v. Carlson, 652 F.2d

371, 373 (3d Cir. 1981).      However, where a complaint can be

remedied by an amendment, a district court may not dismiss the

complaint with prejudice, but must permit the amendment.            Denton

v. Hernandez, 504 U.S. 25, 34 (1992); Alston v. Parker, 363 F.3d

229 (3d Cir. 2004)(complaint that satisfied notice pleading

requirement that it contain short, plain statement of the claim

but lacked sufficient detail to function as a guide to discovery

was not required to be dismissed for failure to state a claim;

district court should permit a curative amendment before

dismissing a complaint, unless an amendment would be futile or

inequitable); Grayson v. Mayview State Hospital, 293 F.3d 103,


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108 (3d Cir. 2002) (dismissal pursuant to 28 U.S.C.

§ 1915(e)(2)); Shane v. Fauver, 213 F.3d 113, 116-17 (3d Cir.

2000) (dismissal pursuant to 42 U.S.C. § 1997e(c)(1)); Urrutia v.

Harrisburg County Police Dept., 91 F.3d 451, 453 (3d Cir. 1996).

                      III.   SECTION 1983 ACTIONS

     Plaintiff brings this action pursuant to 42 U.S.C. § 1983

alleging violations of his civil rights guaranteed under the

United States Constitution.      Section 1983 provides in relevant

part:

     Every person who, under color of any statute,
     ordinance, regulation, custom, or usage, of any State
     or Territory ... subjects, or causes to be subjected,
     any citizen of the United States or other person within
     the jurisdiction thereof to the deprivation of any
     rights, privileges, or immunities secured by the
     Constitution and laws, shall be liable to the party
     injured in an action at law, suit in equity, or other
     proper proceeding for redress ... .

Thus, to state a claim for relief under § 1983, a plaintiff must

allege, first, the violation of a right secured by the

Constitution or laws of the United States and, second, that the

alleged deprivation was committed or caused by a person acting

under color of state law.      West v. Atkins, 487 U.S. 42, 48

(1988); Piecknick v. Pennsylvania, 36 F.3d 1250, 1255-56 (3d Cir.

1994).

     It would appear that all of the named defendants are state

actors because they are employed as correctional officials at the

New Jersey State Prison and with the Department of Corrections


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(“DOC”).    Therefore, it appearing that all defendants may be

persons acting under color of state law in this instance, the

Court will review the claims asserted in the Complaint to

determine whether plaintiff has sufficiently alleged a cognizable

claim(s) upon which relief may be granted.          See 28 U.S.C. §§

1915(e)(2) and 1915A.

                               IV.   ANALYSIS

A.   Excessive Force Claim

      Plaintiff’s claim against the named correctional officers,

Viton, Mandara, Carbonaro, Liik, Lampitt, Alaimo, D’Amore, and

Degner may be construed as an excessive force claim in violation

of the Eighth Amendment because he is a convicted prisoner.             See

Graham v. Connor, 490 U.S. 386, 392-394 (1989)(cases involving

the use of force against convicted individuals are examined under

the Eighth Amendment’s proscription against cruel and unusual

punishment).

      “The Eighth Amendment, in only three words, imposes the

constitutional limitation upon punishments:          they cannot be

‘cruel and unusual.’”      Rhodes v. Chapman, 452 U.S. 337, 345

(1981).    The Eighth Amendment prohibits conditions which involve

the unnecessary and wanton infliction of pain or are grossly

disproportionate to the severity of the crime warranting

imprisonment.    Id. at 347.     The cruel and unusual punishment

standard is not static, but is measured by “the evolving


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standards of decency that mark the progress of a maturing

society.”    Id. at 346 (quoting Trop v. Dulles, 356 U.S. 86, 101

(1956)).    To state a claim under the Eighth Amendment, an inmate

must satisfy an objective element and a subjective element.

Farmer v. Brennan, 511 U.S. 825, 834 (1994).

      The objective element questions whether the deprivation of a

basic human need is sufficiently serious; the subjective

component asks whether the officials acted with a sufficiently

culpable state of mind.      Wilson v. Seiter, 501 U.S. 294, 298

(1991).    The objective component is contextual and responsive to

“‘contemporary standards of decency.’”         Hudson v. McMillian, 503

U.S. 1, 8 (1992).     The subjective component follows from the

principle that “‘only the unnecessary and wanton infliction of

pain implicates the Eighth Amendment.’”         See Farmer, 511 U.S. at

834 (quoting Wilson, 501 U.S. at 297 (internal quotation marks,

emphasis, and citations omitted)); Rhodes, 452 U.S. at 345.             What

is necessary to establish an unnecessary and wanton infliction of

pain varies also according to the nature of the alleged

constitutional violation.       Hudson, 503 U.S. at 5.

      Where the claim is one of excessive use of force, the core

inquiry as to the subjective component is that set out in Whitley

v. Albers, 475 U.S. 312, 320-21 (1986)(citation omitted):

“‘whether force was applied in a good faith effort to maintain or

restore discipline or maliciously and sadistically for the very


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purpose of causing harm.’”       Quoted in Hudson, 503 U.S. at 6.

“When prison officials maliciously and sadistically use force to

cause harm, contemporary standards of decency always are

violated.”    Id. at 9.    In such cases, a prisoner may prevail on

an Eighth Amendment claim even in the absence of a serious

injury, the objective component, so long as there is some pain or

injury and something more than de minimis force is used.            Id. at

9-10 (finding that blows which caused bruises, swelling, loosened

teeth, and a cracked dental plate were not de minimis for Eighth

Amendment purposes).

      To determine whether force was used in “good faith” or

“maliciously and sadistically,” courts have identified several

factors, including:

      (1) “the need of the application of force”; (2) “the
      relationship between the need and the amount of force
      that was used”; (3) “the extent of injury inflicted”;
      (4) “the extent of the threat to the safety of staff
      and inmates, as reasonably perceived by responsible
      officials on the basis of the facts known to them”; and
      (5) “any efforts made to temper the severity of a
      forceful response.”

Brooks v. Kyler, 204 F.3d 102, 106 (3d Cir. 2000) (quoting

Whitley v. Albers, 475 U.S. at 321).        Thus, not all use of force

is “excessive” and will give rise to the level of a

constitutional violation.       See Hudson, 503 U.S. at 9 (it is clear

that not “every malevolent touch by a prison guard gives rise to

a federal cause of action”).       Therefore, “[n]ot every push or

shove, even if it may later seem unnecessary in the peace of a

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judge’s chambers, violates a prisoner’s constitutional rights.”

Id. at 9-10.

      Here, Lewis alleges that defendants brutally assaulted him

without provocation by kicking, punching, and stomping on him

while plaintiff was restrained by handcuffs, and by the officers

holding his legs.     Lewis also claims that these officers acted

maliciously because plaintiff had complained about an earlier

incident involving one or more of the same officers.           Further,

Lewis asserts that he sustained serious injuries that required

his transport to an outside hospital for medical treatment, thus

suggesting that his injuries were not de minimis.3          Therefore,

based on the allegations in the Complaint, if true, it would

appear that Lewis has asserted facts sufficient to suggest that

defendants exhibited malicious and sadistic conduct intended to

cause plaintiff pain.      Such conduct, if true, is “repugnant to

the conscience of mankind” absent extraordinary circumstances

necessary to justify that kind of force.         Hudson, 503 U.S. at 10.




      3
        “[T]he Eighth Amendment analysis must be driven by the
extent of the force and the circumstances in which it is applied;
not by the resulting injuries.” Smith v. Mensinger, 293 F.3d
641, 648 (3d Cir. 2002). Thus, the pivotal inquiry in reviewing
an excessive force claim is whether the force was applied
maliciously and sadistically to cause harm. Id. at 649; Brooks,
204 F.3d at 106. Otherwise, an inmate “could constitutionally be
attacked for the sole purpose of causing pain as long as the
blows were inflicted in a manner that resulted” in injuries that
were de minimis. Id.

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Accordingly, this Court will allow this claim to proceed past the

screening stage.

      Furthermore, to the extent that Lewis also is asserting a

common law tort claim of assault and battery against these

individual correctional officers, the Court finds that

supplemental jurisdiction may be exercised under 28 U.S.C. §

1367(a) because such claim is plainly related to plaintiff’s

Eighth Amendment excessive force claim, over which this Court has

original jurisdiction pursuant to 28 U.S.C. § 1331 and 42 U.S.C.

§ 1983.

B.   Failure to Protect or Supervise Claim

      Next, Lewis alleges that defendant Cathel, Administrator at

NJSP at the time, and Commissioner Brown of the NJDOC, failed to

take disciplinary or other preventive actions to curb the “well-

known pattern” of physical abuse by the defendant correctional

officers named above, in violation of the Eighth Amendment.

      Under the Eighth Amendment, prison officials have a duty to

provide humane conditions of confinement, including adequate

food, clothing, shelter, medical care, and personal safety.

Farmer v. Brennan, 511 U.S. 825, 832 (1994); Young v. Quinlan,

960 F.2d 351, 364 (3d Cir. 1992).         “Being violently assaulted in

prison is simply ‘not part of the penalty that criminal offenders

pay for their offenses against society.’”         Id. at 834 (quoting

Rhodes v. Chapman, 452 U.S. 337, 347 (1981)).


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      As discussed above, to successfully state a claim for

violation of the Eighth Amendment, an inmate must satisfy both

the objective and subjective components of such a claim.            The

inmate must allege a deprivation which was “sufficiently

serious,” and that in their actions or omissions, prison

officials exhibited “deliberate indifference” to the inmate’s

health or safety.     See Farmer, 511 U.S. at 834; Wilson v. Seiter,

501 U.S. 294, 305 (1991); Nami v. Fauver, 82 F.3d 63, 67 (3d Cir.

1996).

      In the context of a failure-to-protect claim, the inmate

must show that he is “incarcerated under conditions posing a

substantial risk of harm,”       Farmer, 511 U.S. at 833, and that

prison officials knew of and disregarded the excessive risk to

inmate safety, Id. at 837.       “A pervasive risk of harm may not

ordinarily be shown by pointing to a single incident or isolated

incidents, but it may be established by much less than proof of a

reign of violence and terror.”       Riley v. Jeffes, 777 F.2d 143,

147 (3d Cir. 1985).     “Whether ... prison official[s] had the

requisite knowledge of a substantial risk is a question of fact

subject to demonstration in the usual ways, including inference

from circumstantial evidence, and a fact finder may conclude that

... prison official[s] knew of a substantial risk from the very

fact that the risk was obvious.”          Farmer, 511 U.S. at 842.

Deliberate indifference is more than a mere lack of ordinary due


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care, however; it is a state of mind equivalent to a reckless

disregard of a known risk of harm.          Farmer, 511 U.S. at 834.

      Here, Lewis alleges generally that defendants Cathel and

Brown did nothing to prevent further abuses and assaults by the

defendant correctional officers despite knowledge of the March

2005 attack against plaintiff, and plaintiff and his family’s

repeated notices to Cathel and Brown about the need to protect

Lewis from harm.     This allegation may be sufficient, at this

early screening stage, to withstand dismissal because it tends to

show that defendants Cathel and Brown were informed or should

have known that there was a substantial risk of harm to plaintiff

from these corrections officers.          See Nami, 82 F.3d at 67-68;

Farmer, 511 U.S. at 842; accord Hamilton v. Leavy, 117 F.3d 742,

747-48 (3d Cir. 1997); Ingalls v. Florio, 968 F.Supp. 193, 199-

200 (D.N.J. 1997).     Accordingly, the Court will allow this

failure to protect claim proceed against defendant Cathel and

Brown at this time.

C.   Denial of Disciplinary Due Process Claim

      Next, Lewis alleges that defendant Osvart denied plaintiff

his right to procedural due process during prison disciplinary

proceedings.    Namely, Lewis states that Osvart adjudicated

plaintiff’s guilt on some of the charges without substantial

evidence to support Osvart’s findings.          Lewis also alleges a

general due process violation against defendants Cathel and Trent


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for upholding the disciplinary findings without substantial

evidence.

      To support this denial of procedural due process claim,

Lewis must demonstrate that the procedures afforded him fell

short of the requirements enunciated in Wolff v. McDonnell, 418

U.S. 539 (1974).4     Jackson v. Johnson, 15 F. Supp.2d 341, 351

(S.D.N.Y. 1998).     See Sandin, 515 U.S. at 487.

      In Wolff v. McDonnell, the Supreme Court set forth the

requirements of due process in prison disciplinary hearings.             An

inmate is entitled to (1) written notice of the charges and no

less than 24 hours to marshal the facts and prepare a defense for

an appearance at the disciplinary hearing; (2) a written

statement by the fact finder as to the evidence relied on and the

reasons for the disciplinary action; and (3) an opportunity “to

call witnesses and present documentary evidence in his defense

when to do so will not be unduly hazardous to institutional

safety or correctional goals.”       Wolff, 418 U.S. at 563-71.

However, inmates do not have an absolute federal

constitutionally-protected right to confront and cross-examine

witnesses at their prison disciplinary hearings.           Id. at 567-68.


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        In Wolff, the Supreme Court held that, while prisoners
retain certain basic constitutional rights, including procedural
due process protections, prison disciplinary hearings are not
part of criminal prosecution, and an inmate’s rights at such
hearings may be curtailed by the demands and realities of the
prison environment. Id. at 556-57; Young v. Kann, 926 F.2d 1396,
1399 (3d Cir. 1991).

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See also Baxter v. Palmigiano, 425 U.S. 308, 321-22 (1976); Young

v. Kann, 926 F.2d 1396, 1404 (3d Cir. 1991); Sanchez v. Roth, 891

F. Supp. 452, 458-59 (N.D.Ill.1995); Harrison v. Pyle, 612 F.

Supp. 850, 854-55 (D. Nev. 1985).

      Lewis does not contend that he did not receive timely notice

of the disciplinary action.       Rather, he argues that he had a

truncated hearing and was not given an opportunity to present

evidence or witnesses at the hearing.         He also claims that there

was no evidential support for the hearing officer’s determination

of guilt, but does admit that he was provided with a written

report from the disciplinary hearing officer (“DHO”) as to the

disciplinary findings in this matter.

      Opportunity to Present Evidence       Based on the facts as

alleged by Lewis in his Complaint, plaintiff has not demonstrated

a claim of constitutional magnitude.        First, while Lewis states

that Osvart was not entertaining “anything” from plaintiff at the

hearing, Lewis confirms that Osvart looked at the video tape of

the incident and determined that Lewis was not guilty of assault

as charged.    Second, Lewis does not allege that he had other

witnesses or evidence to present at the hearing.           In fact, he

maintains that the video tape was important and should be

preserved for his defense.       Thus, the critical evidence needed to

support plaintiff’s case was reviewed by DHO Osvart at the

disciplinary proceeding, and DHO Osvart told plaintiff that he


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relied on the video tape in reaching the decision to drop the

assault charges against plaintiff.        Therefore, because Lewis has

not shown that he had other evidence or witnesses to produce at

the hearing and the DHO had significant evidence which exonerated

plaintiff from the assault charges, there is no apparent denial

of due process under Wolff, and this claim will be dismissed for

failure to state a cognizable claim of a federal constitutional

deprivation.

      Written Decision with Evidentiary Support         Next, Lewis

claims that there was no evidentiary support for the DHO’s

decision.    He does admit, however, that he was provided with a

written decision as required under Wolff.         Moreover, Lewis

acknowledges that the disciplinary findings by DHO Osvart refers

to “evidence” that DHO Osvart relied upon in reaching his

determination.     Specifically, Lewis relates that the DHO found

that there is “no reason to discredit the officers” on the other

charges on which plaintiff was found guilty.          Consequently, the

written decision informs Lewis that the DHO accepted the account

of the incident by the charging officers over plaintiff’s

rendition of the events as to the other lesser charges.            (Compl.,

¶ 110).

      The Supreme Court has held that procedural due process is

not satisfied “unless the findings of the prison disciplinary

board are supported by some evidence in the record.”


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Superintendent v. Hill, 472 U.S. 445, 454-55 (1985); Young v.

Kann, 926 F.2d 1396, 1402-03 (3d Cir. 1991).          The Supreme Court

has stated:

      Prison disciplinary proceedings take place in a highly
      charged atmosphere, and prison administrators must
      often act swiftly on the basis of evidence that might
      be insufficient in less exigent circumstances. The
      fundamental fairness guaranteed by the Due Process
      Clause does not require courts to set aside decisions
      of prison administrators that have some basis in fact.
      Revocation of good time credits is not comparable to a
      criminal conviction, and neither the amount of evidence
      necessary to support such a conviction, nor any other
      standard greater than some evidence applies in this
      context.

Hill, 472 U.S. at 456 (internal citations omitted).           Moreover,

the Court stated:     “The Federal Constitution does not require

evidence that logically precludes any conclusion but the one

reached by the disciplinary board.        Instead, due process in this

context requires only that there be some evidence to support the

findings made in the disciplinary hearing.”          Id. at 457.

      Here, DHO Osvart noted that there was adequate evidence to

support some of the officers’ charges against plaintiff, but not

the more serious charges of assault.        It would appear from

plaintiff’s own allegations that DHO Osvart considered and relied

upon the video tape of the incident and the history between

plaintiff and the accusing officers based on an earlier incident

in March 2005.     Moreover, it is clear that DHO Osvart relied upon

the accounts of the incident as provided by both the charging

officers and Lewis, and therefore, the decision was based on the

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DHO’s finding that the officers were more credible with respect

to the lesser charges.       Consequently, there was sufficient

evidence to support the disciplinary finding by Osvart, and no

due process violation as alleged by plaintiff.

      Finally, to the extent Lewis may be asserting that his

confinement in disciplinary detention violated due process, such

claim also is subject to dismissal.        Procedural due process

rights are triggered by a deprivation of a legally cognizable

liberty interest.5     For a prisoner like Lewis, such a deprivation

occurs when the prison “imposes atypical and significant hardship

on the inmate in relation to the ordinary incidents of prison

life.”    Sandin v. Conner, 515 U.S. 472, 484 (1995).         Lesser

restraints on an inmate’s freedom are deemed to fall “within the

expected parameters of the sentence imposed by a court of law.”

Id.   Thus, “[a]s long as the conditions or degree of confinement

to which the prisoner is subjected is within the sentence imposed

upon him and is not otherwise violative of the Constitution, the

Due Process Clause does not in itself subject an inmate’s

treatment by prison authorities to judicial oversight.”            Montanye

v. Haymes, 427 U.S. 236, 242 (1976), quoted in Sandin, 515 U.S.

at 480.    See also Asquith, 186 F.3d at 410-11 (no liberty

interest under the Due Process Clause in remaining in halfway


      5
       The Due Process Clause of the Fourteenth Amendment
provides that no State may “deprive any person of life, liberty,
or property, without due process of law.”

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house).   Here, Lewis states that he was in disciplinary detention

for 12 days, and in a “dry cell” for a short time before his

disciplinary proceeding took place.6        The conditions of the dry

cell, as alleged by Lewis, appear to be the only “serious

deprivation or hardship” asserted.        He does not allege that he

was confined in the dry cell for any length of time.           Thus, this

very short period of disciplinary detention, even if due to

alleged false disciplinary actions, does not trigger the

protections of the Due Process Clause.         See Sandin, 515 U.S. at

484-486; see also Griffin v. Vaughn, 112 F.3d 703, 708-09 (3d

Cir. 1997)(disciplinary segregation of state prisoner for 15

months did not impose atypical and significant hardship on

prisoner, and thus, did not implicate the due process clause).

      Consequently, where the Complaint fails to allege a claim of

constitutional magnitude or atypical or significant hardship with

respect to Lewis’ short period of detention, this claim asserting

denial of disciplinary due process will be dismissed without

prejudice, as against all defendants accordingly, for failure to




      6
        The Complaint is not specific as to the exact amount of
time plaintiff was in the dry cell, but from the allegations, it
would appear that Lewis is alleging that he was placed in the dry
cell for the day or some similar short period of time immediately
preceding his disciplinary hearing.

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state a cognizable claim under 28 U.S.C. §§ 1915(e)(2)(B)(ii) and

1915A(b)(1).7

D.   False Disciplinary Charges

      Lewis also claims that the correctional officer defendants

conspired to fabricate false disciplinary charges against him.

This Court finds no cognizable claim under § 1983.

      The act of filing false disciplinary charges does not itself

violate a prisoner’s constitutional rights.          See Freeman v.

Rideout, 808 F.2d 949, 952-53 (2d Cir. 1986)(holding that “the

mere filing of [a false] charge itself” does not constitute a

cognizable claim under § 1983 so long as the inmate “was granted

a hearing, and had the opportunity to rebut the unfounded or

false charges”), cert. denied, 485 U.S. 982 (1988); Hanrahan v.

Lane, 747 F.2d 1137, 1140 (7th Cir. 1984)(finding that so long as

prison officials provide a prisoner with the procedural

requirements outlined in Wolff v. McDonnell, 418 U.S. 539, 558

(1974), then the prisoner has not suffered a constitutional



      7
        Lewis also alleges that defendants Cathel and Trent
violated his right to due process by refusing to reverse the
disciplinary findings by DHO Osvart. Lewis does not articulate
any due process violations purportedly committed by these
defendants, other than the fact that the defendants did not
reverse the DHO’s findings. Thus, it would appear that Lewis is
attempting to reverse the August 2005 disciplinary finding and
restore good conduct time accordingly. Such a claim is barred by
Preiser v. Rodriguez, 411 U.S. 475 (1973), because the relief
sought presumes plaintiff’s immediate or speedier release from
prison and therefore, is not cognizable under § 1983, but
instead, should be raised in a habeas proceeding.

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violation).    See also Creter v. Arvonio, No. 92-4493, 1993 WL

306425, at *7 (D.N.J. Aug. 5, 1993); Duncan v. Neas, No. 86-109,

1988 WL 91571, at *1 (D.N.J. Aug. 30, 1988)(determining that “the

alleged knowing falsity of the charge [does not state] a claim of

deprivation of a constitutionally protected liberty interest ...

where procedural due process protections were provided”).             In

this case, as discussed in the preceding section, Lewis was

provided a hearing and the pertinent evidence, a video tape of

the incident was reviewed by the DHO, giving Lewis an opportunity

to rebut the charges.      Furthermore, based on the video tape

evidence, the assault charges were dismissed.          Accordingly, Lewis

has failed to state a cognizable claim under § 1983 with respect

to the alleged false disciplinary charges.

                              V.   CONCLUSION

      Therefore, for the reasons set forth above, plaintiff’s

claims alleging excessive force and failure to protect, in

violation of the Eighth Amendment will be allowed to proceed at

this time against all defendants, except defendants DHO Osvart

and Assistant Administrator Trent.        Further, because the common

law tort claim of assault and battery is related to the excessive

force claim, the Court will exercise supplemental jurisdiction

over this claim pursuant to 28 U.S.C. § 1367(a).           However,

plaintiff’s claims against R. Cathel, P. Trent, and J. Osvart,

alleging denial of procedural due process and disciplinary due


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process in general, will be dismissed at this time for failure to

state a claim.     To the extent plaintiff is seeking a reversal or

expungement of the disciplinary finding and restoration of good

time credits, such claim will be dismissed without prejudice, for

failure to state a claim at this time, pursuant to 28 U.S.C.

§§ 1915(e)(2)(B)(ii) and 1915A(b)(1).         Plaintiff’s claim of false

disciplinary charges against the correctional officer defendants

also will be dismissed for failure to state a claim. An

appropriate order follows.




                             /s/ Joel A. Pisano
                             JOEL A. PISANO
                             United States District Judge

Dated: August 14, 2007




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